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Attorneys for Plaintiff and Counter-defendant Calista Enterprises Ltd.

                            UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON – PORTLAND DIVISION



CALISTA ENTERPRISES LTD.,                           Case No. 3:13-cv-01045-SI
a Republic of Seychelles company,
                                                    EXHIBIT A – PART II
   Plaintiff,                                       TO PLAINTIFF’S FIRST AMENDED
                                                    COMPLAINT
- v. -

TENZA TRADING LTD.,
a Cyprus company,

   Defendant.


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617-928-1800 | vgurvits@bostonlawgroup.com | matt@bostonlawgroup.com          First Amended Complaint
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TENZA TRADING LTD.,
a Cyprus company,

   Counterclaim Plaintiff,

- v. -

CALISTA ENTERPRISES LTD.,
a Republic of Seychelles company, and
ALEXANDER ZHUKOV,
a Czechoslovakian citizen,

   Counterclaim Defendants.




Respectfully Submitted,                             Dated: August 7, 2014
Plaintiff Calista Enterprises Ltd.
By its Attorneys,

/s/ Matthew Shayefar                                /s/ Evan Fray-Witzer
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